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                      UNITED STATES COURT OF APPEALS
                                    FOR THE
                                SECOND CIRCUIT


        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
9th day of August, two thousand twenty-three.

Before:        Maria Araújo Kahn,
                      Circuit Judge,
________________________________
 In re: Google LLC
                                                   ORDER
            Petitioner.
 ********************************                  Docket No. 23-910
 Google, LLC,

              Petitioner,

 v.

 The State of Texas, State of Alaska, State of
 Arkansas, State of Florida, State of Idaho,
 State of Indiana, Commonwealth of Kentucky,
 State of Louisiana, State of Mississippi, State
 of Missouri, State of Montana, State of
 Nevada, State of North Dakota,
 Commonwealth of Puerto Rico, State of South
 Carolina, State of South Dakota, State of Utah,

            Respondents.
 ________________________________

         On June 5, 2023, the Judicial Panel on Multidistrict Litigation’s (“JPML”)
granted Respondents’ motion to remand the underlying antitrust action to the Eastern
District of Texas. In re Google Digital Advertising Antitrust Litig., 2023 WL 3828612
(J.P.M.L. June 5, 2023). On June 20, 2023, Petitioner filed a petition for a writ of
mandamus with this Court seeking review of the JPML order. Petitioner now moves, on
an emergency basis, for a stay of the JPML order pending determination of the mandamus
petition. Petitioner also seeks an administrative stay of the JPML order pending the
Court’s adjudication of this motion.

       IT IS HEREBY ORDERED that Petitioner’s motion for an emergency stay of the
JPML order pending this Court’s resolution of Petitioner’s petition for a writ of mandamus
is REFERRED to a three-judge motions panel or the panel that determines the petition for
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      a writ of mandamus. IT IS FURTHER ORDERED that Petitioner’s request for an
      administrative stay of the JPML order is granted until the motion for a stay pending
      resolution of the mandamus petition is determined. We note that the issuance of an
      administrative stay does not constitute a decision as to the merits of the motion for a stay
      pending resolution of Petitioner’s mandamus petition. See Hassoun v. Searls, 976 F.3d
      121, 126 (2d Cir. 2020) (describing extension of administrative stay to permit full
      consideration of motion).


                                                            For the Court:
                                                            Catherine O’Hagan Wolfe,
                                                            Clerk of Court




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